          Case 1:23-cv-01373-DII Document 40 Filed 06/15/24 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION
Michael Kascsak



-vs-                                                        Case No.:     1:23-cv-1373-DII

Expedia, Inc.




                         MOTION FOR ADMISSION PRO HAC VICE


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                                 Nicole J. Moss
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PRYHVWKLV&RXUWWRJUDQWDGPLVVLRQWRWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH:HVWHUQ'LVWULFWRI

                                         Michael Kascsak
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                                 Cooper & Kirk, PLLC
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       ZLWKRIILFHVDW

                0DLOLQJDGGUHVV         1523 New Hampshire Avenue, Northwest
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                &LW\6WDWH=LS&RGH          Washington, DC 20036
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                7HOHSKRQH               (202) 220-9600
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                )DFVLPLOH                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                         (202) 220-9601

                Email:             nmoss@cooperkirk.com
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        Case 1:23-cv-01373-DII Document 40 Filed 06/15/24 Page 2 of 6




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     6LQFHBBBBBBBBBBBBBBBBBBBBBBB$SSOLFDQWKDVEHHQDQGSUHVHQWO\LVDPHPEHURIDQGLQ

                                                                  North Carolina
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     $SSOLFDQW¶VEDUOLFHQVHQXPEHULVBBBBBBBBBBBBBBBBBBBBBBB

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     &RXUW                                              $GPLVVLRQGDWH

     Please see Attachment A.
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     H[FHSWDVSURYLGHGEHORZ OLVWDQ\FRXUWQDPHGLQWKHSUHFHGLQJSDUDJUDSKEHIRUHZKLFK

     $SSOLFDQWLVQRORQJHUDGPLWWHGWRSUDFWLFH 

     N/A
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          Case 1:23-cv-01373-DII Document 40 Filed 06/15/24 Page 3 of 6




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      ZLOOFRPSO\ZLWKWKHVWDQGDUGVRISUDFWLFHVHWRXWWKHUHLQ

    6HOHFWRQH

      G      $SSOLFDQW KDV RQ ILOH DQ DSSOLFDWLRQ IRU DGPLVVLRQ WR SUDFWLFHEHIRUH WKH 8QLWHG

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      ✔      $SSOLFDQWKDVFRFRXQVHOLQWKLVFDVHZKRLVDGPLWWHGWRSUDFWLFHEHIRUHWKH8QLWHG

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             &RFRXQVHO              Alexander Liebmann
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             0DLOLQJDGGUHVV         714 N. Spring St.
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             &LW\6WDWH=LS&RGH           Pensacola FL 32501
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      WRClerk, U.S. District Court@

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      GD\VRIWKLVRUGHUSXUVXDQWWR$GPLQLVWUDWLYH3ROLFLHVDQG3URFHGXUHVIRU(OHFWURQLF)LOLQJ

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           Case 1:23-cv-01373-DII Document 40 Filed 06/15/24 Page 4 of 6




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              Nicole J. Moss
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              June                    2024


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          Case 1:23-cv-01373-DII Document 40 Filed 06/15/24 Page 5 of 6




                                       ATTACHMENT A
3. Applicant has been admitted to practice before the following courts:
                              Court                                 Admission Date
 North Carolina (State Bar)                                           09/05/2003
 Maryland (State Bar)                                                 12/13/2000
 District of Columbia (State Bar)                                     06/04/2001
 U.S. District Court for the Middle District of North Carolina        03/14/2008
 U.S. District Court for the Middle District of North Carolina
                                                                          03/14/2008
 (Bankruptcy)
 U.S. District Court for the Eastern District of North Carolina           11/13/2003
 U.S. District Court for the District of Maryland                         12/08/2017
 U.S. District Court for the District of Columbia                         03/04/2002
 U.S. Court of Appeals for the Fourth Circuit                             05/18/2011
 U.S. Court of Appeals for the Sixth Circuit                              12/04/2007
 U.S. Court of Appeals for the Federal Circuit                            10/03/2005
 U.S. Court of Federal Claims                                             07/25/2014
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
Michael Kascsak

-vs-                                                           Case No. 1:23-cv-1373-DII
Expedia, Inc.




                                             ORDER


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ZDV SUHVHQWHG WR WKH &RXUW WKH 0RWLRQ IRU $GPLVVLRQ 3UR +DF 9LFH ILOHG E\

       Nicole J. Moss
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WKH&RXUWKDYLQJUHYLHZHGWKHPRWLRQHQWHUVWKHIROORZLQJRUGHU

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                               Michael Kascsak
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LQ FRPSOLDQFH ZLWK /RFDO &RXUW 5XOH $7 I   LPPHGLDWHO\ WHQGHU WKH DPRXQW RI 

PDGHSD\DEOHWR Clerk, U.S. District Court

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                                               UNITED STATES DISTRICT JUDGE
